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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
      CEDRIC PAULK,                       )   No. CV 20-03794-DMG (JDE)
12                                        )
                                          )
                        Petitioner,       )   ORDER ACCEPTING FINDINGS
13                                        )
                   v.                     )   AND RECOMMENDATION OF
14                                        )   UNITED STATES MAGISTRATE
15                                        )   JUDGE
                                          )
      WARDEN PLILER,                      )
16                                        )
                        Respondent.       )
17                                        )
18
19          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
20    Motion to Dismiss the Petition filed by Respondent (“Motion to Dismiss”), the
21    Opposition and Reply briefs filed in opposition to and in support of the Motion
22    to Dismiss, the Report and Recommendation (“Report”) of the United States
23    Magistrate Judge, and the Objections to the Report filed by Petitioner.
24          The Court has engaged in a de novo review of those portions of the
25    Report and Recommendation to which objections have been made. The Court
26    accepts the findings and recommendation of the Magistrate Judge.
27    ///
28    ///
     Case 2:20-cv-03794-DMG-JDE Document 19 Filed 10/19/20 Page 2 of 2 Page ID #:649




 1    IT IS THEREFORE ORDERED that:
 2          (1)   Respondent’s Motion to Dismiss [Doc. # 7] is GRANTED; and
 3          (2)   Judgment shall be entered dismissing this action without
 4                prejudice.
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 6    DATED: October 19, 2020                   ______________________________
 7                                              DOLLY M. GEE
                                                United States District Judge
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